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                          UNITED STATES BANKRUPTCY COURT
                             MIDDLE DISTRICT OF FLORIDA
                                FORT MYERS DIVISION


In re:                                                   CASE NO. 9:17-bk-00426-FMD

FRANZ JOSEF ROSINUS                                             CHAPTER 7
     Debtor.

_____________________________________/

LUIS E. RIVERA II, as Chapter 7 Trustee for              Adv. No.: 9:18-ap-00227-F MD
the bankruptcy estate of Franz Josef Rosinus,

         Plaintiff, v.

ALICO INDUSTRIAL VENTURE, LLC,
and CORKSCREW PLANTATION VII, INC.,
a/k/a CORKSCREW PLANTATION VII, LLC,

      Defendants.
____________________________________/


                         ANSWER AND AFFIRMATIVE DEFENSES

         Defendants, ALICO INDUSTRIAL VENTURE, LLC, and CORKSCREW

PLANTATION VII, INC., through the undersigned attorneys file this Answer and Affirmative

Defenses as follows:

    1. Admitted.

    2. Admitted.

    3. Admitted.

    4. Admitted.

    5. Admitted for jurisdictional purposes only.

    6. Admitted for jurisdictional purposes only.

    7. Admitted for jurisdictional purposes only.
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8. Admitted.

9. Without knowledge, therefore Denied.

10. Admitted.

11. Without knowledge, therefore Denied.

12. Without knowledge, therefore Denied.

13. Denied.

14. Denied.

15. Without knowledge, therefore Denied.

16. Denied.

17. Denied.

                                      COUNT I

18. Admitted and Denied as above set forth.

19. Denied.

20. Denied.

21. Denied.

                                      COUNT II

22. Admitted and Denied as above set forth.

23. Denied.

24. Denied.

25. Denied.

26. Denied.

                                     COUNT III

27. Admitted and Denied as above set forth.
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   28. Denied.

   29. Denied.

   30. Denied.

                                           COUNT IV

   31. Admitted and Denied as above set forth.

   32. Denied.

   33. Denied.

   34. Denied.

   35. Denied.

                                           COUNT V

   36. Admitted and Denied as above set forth.

   37. Denied.

   38. Denied.

                                 AFFIRMATIVE DEFENSES

                              FIRST AFFIRMATIVE DEFENSE

       As a separate and affirmative defense to the Complaint, and to each purported cause of

action thereof, Defendants submits that the Complaint, and each purported cause of action

thereof, is barred or reduced by the doctrine of setoff and/or recoupment.

                            SECOND AFFIRMATIVE DEFENSE

       As a separate and affirmative defense to the Complaint, and to each purported cause of

action thereof, Defendants submit that the purported claims and causes of action against

Defendants are barred, in whole or in part, because Defendants provided/received reasonably

equivalent vale in exchange for the alleged transfers in the Complaint. Accordingly, the alleged
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transfers described in the Complaint are neither avoidable nor recoverable and the Complaint and

the causes of action asserted therein should be dismissed.

                               THIRD AFFIRMATIVE DEFENSE

       As a separate and affirmative defense to the Complaint, and to each purported cause of

action thereof, Defendants submit that many allegations in the Complaint are barred by the

applicable statute of limitations.

                                     CERTIFICATE OF SERVICE

       I certify that a true and correct copy of the foregoing has been furnished by CM/ECF to

the parties below on this the 12th day of May 2018.


                                             /s/ David P. Fraser
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